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AO 245B (Rev 12/10) Judgment in a Criminal Case for Revocations Sheet 1

                                           UNITED STATES DISTRICT COURT
                                                              District of New Mexico

                  UNITED STATES OF AMERICA                                  Judgment in a Criminal Case
                             V.                                             (For Revocation of Probation or Supervised Release)


                           Amanda Jackson                                   (For Offenses Committed On or After November 1, 1987)
                                                                            Case Number: 1:09CR03078-002JB
                                                                            USM Number: 54201-051
                                                                            Defense Attorney: Kari Converse, Appointed
THE DEFENDANT:

☒     admitted guilt to violations of condition(s) Standard, Standard, Special of the term of supervision.
☐     was found in violation of condition(s) after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number                  Nature of Violation                                                   Violation Ended

Standard Condition                The defendant failed to report to the probation officer in a          04/21/2015
                                  manner and frequency directed by the court or probation
                                  officer.


The defendant is sentenced as provided in pages 1 through 4 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

☐ The defendant has not violated condition(s) and is discharged as to such violation(s).

IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

4550                                                                      June 17, 2015
Last Four Digits of Defendant’s Soc. Sec. No.                             Date of Imposition of Judgment


1978                                                                      /s/ James O. Browning
Defendant’s Year of Birth                                                 Signature of Judge




                                                                          Honorable James O. Browning
Farmington, NM                                                            United States District Judge
City and State of Defendant’s Residence                                   Name and Title of Judge

                                                                          June 25, 2015
                                                                          Date Signed
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Defendant: Amanda Jackson
Case Number: 1:09CR03078-002JB

                                                       ADDITIONAL VIOLATIONS
Violation Number                  Nature of Violation                                          Violation Ended

Standard Condition                The defendant failed to answer truthfully all inquires by the 04/21/2915
                                  probation officer and follow the instructions of the
                                  probation officer.

Special Condition                 The defendant failed to enter and successfully complete an   04/21/2015
                                  inpatient substance abuse treatment program as approved
                                  by the probation officer.
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AO 245B (Rev 12/10) Judgment in a Criminal Case for Revocations                                                       Judgment - Page 3 of 4
Sheet 2 - Imprisonment



Defendant: Amanda Jackson
Case Number: 1:09CR03078-002JB

                                                                  IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 5
months.

The term of supervised release will not be reimposed.

Although advisory, the Court has considered the Guidelines and, in arriving at its sentence, has taken account of the
Guidelines with other sentencing goals. Specifically, the Court has considered the Guidelines’ sentencing range established for
the applicable category of offense committed by the applicable category of Defendant. The Court believes that the Guidelines’
punishment is appropriate for this sort of offense. Therefore, the sentence in this judgment is consistent with a guideline
sentence. The Court has considered the kind of sentence and range established by the Guidelines. The Court believes that a
sentence of 5 months reflects the seriousness of the offense, promotes respect for the law, provides just punishment, affords
adequate deterrence, protects the public, avoids unwarranted sentencing disparities among similarly situated defendants,
effectively provides the Defendant with needed education or vocational training and medical care, and otherwise fully reflects
each of the factors embodied in 18 U.S.C. Section 3553(a). The Court also believes the sentence is reasonable. The Court
believes the sentence is sufficient, but not greater than necessary, to comply with the purposes set forth in the Sentencing
Reform Act.

☐ The court makes the following recommendations to the Bureau of Prisons:




☒     The defendant is remanded to the custody of the United States Marshal.
☐     The defendant shall surrender to the United States Marshal for this district:
      ☐ at on
      ☐ as notified by the United States Marshal.
☐     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      ☐ before 2 p.m. on
      ☐ as notified by the United States Marshal.
      ☐ as notified by the Probation or Pretrial Services Office.

                                                                     RETURN

I have executed this judgment as follows:




Defendant delivered on                                                                                         to
                                                    at                               with a Certified copy of this Judgment.




                                                                                  UNITED STATES MARSHAL

                                                                                  By
                                                                                  DEPUTY UNITED STATES MARSHAL
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